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                      UNITED STATES DISTRICT COURT
                           DISTRICT OF MAINE

MICHAEL BARKER,                               )
                                              )
      Plaintiff                               )
                                              )
                                              )
      v.                                      )        Docket No. 20-CV-163-JDL
                                              )
YORK COUNTY et al.,                           )
                                              )
      Defendant                               )
                                              )
                                              )

                            NOTICE OF DISMISSAL


      NOW COMES Plaintiff, Michael Barker, by and through counsel, Sarah A.

Churchill, Esq., and hereby files this notice of dismissal pursuant to rule

41(a)(1)(A)(i). The opposing party has not served an answer or motion for

summary judgment. Plaintiff wishes to dismiss all counts in the complaint that are

currently pending. This dismissal is with prejudice. Both parties are to be

responsible for their own attorney’s fees and costs.



Dated: September 1, 2020                      By: Nichols & Churchill, PA

                                              __/s/ Sarah A. Churchill___________
                                              Sarah A. Churchill, Esq.
                                              Maine Bar No. 9320
                                              Attorney for Plaintiff


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